     Case 2:09-cr-00262-JCM-GWF          Document 246        Filed 12/14/11     Page 1 of 1




 1
 2
 3                               UNITED STATES DISTRICT COURT
 4                                     DISTRICT OF NEVADA
 5                                                 ***
 6 UNITED STATES OF AMERICA,              )
                                          )              CA-10-10529
 7                                        )
                     Plaintiff-Appellee,  )              2:09-CR-262-JCM (RJJ)
 8             vs.                        )
                                          )
 9 JOSE LUIS RUBIO-RODRIGUEZ,             )
                                          )
10                   Defendant-Appellant. )               ORDER
   ____________________________________)
11
12
13         Presently before the court is the matter of United States v. Jose Luis Rubio-Rodriguez, case
14 number 2:09-cr-00262-JCM-RJJ, on remand from the Ninth Circuit Court of Appeals.
15         The Ninth Circuit issued its judgment dismissing this appeal and remanding to the district
16 court on October 28, 2011. The Ninth Circuit remanded the case for this court to correct a clerical
17 error in the judgment.
18         Accordingly,
19         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that the judgment as to Jose
20 Luis Rubio-Rodriguez (doc. #152) be, and the same hereby is, AMENDED to reflect that defendant
21 was convicted of conspiracy to distribute methamphetamine in violation of “21 U.S.C. §§ 841(a)(1),
22 (b)(1)(A)(viii), and 846.”
23         DATED this 14th day of December, 2011.
24
                                                         _______________________________
25                                                       UNITED STATES DISTRICT JUDGE
26
27
28
